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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THE PENSION PLAN OF LUMBER                         )
EMPLOYEES LOCAL 786 RETIREMENT                     )
FUND, MICHAEL PHILIPP, RON SANDACK,                )
MICHAEL YAUGER, EDWARD RIZZO,                      )
STEVEN FISHER, and RICKY BLEVINS, as               )
Trustees of the Fund,                              )
                                                   )
              Plaintiffs,                          )
                                                   )
       v.                                          )   Case No. 1:2019-cv-7258
                                                   )
CHARLES HORN LUMBER COMPANY,                       )
d.b.a. (CHAS HORN LUMBER CO., HORN                 )
LUMBER,      HORN   CHAS   LUMBER                  )
COMPANY, CHARLES HORN LUMBER CO,                   )
HORN CHAS LUMBER) and any other                    )
CONTROLLED GROUP MEMBERS OF                        )
CHARLES HORN LUMBER COMPANY and                    )
BRUCE SCOTT HORN,                                  )
                                                   )
              Defendants.                          )

                                        COMPLAINT

       Plaintiffs, Pension Plan of Lumber Employees Local 786 Retirement Fund (“Fund”) and

Michael Philipp, Ron Sandack, Michael Yauger, Edward Rizzo, Steven Fisher, and Ricky

Blevins as the members of the Fund’s Board of Trustees (collectively, the “Trustees”), by their

attorneys Jeffrey S. Fowler, William T. Daniels and Jeffrey W. Hoff, bring this complaint against

Defendants, Charles Horn Lumber Company, d.b.a. (Chas Horn Lumber Co., Horn Lumber,

Horn Chas Lumber Company, Charles Horn Lumber Co, Horn Chas Lumber) (the “Employer”

or “CHL”); Bruce Scott Horn; and any controlled group members of the Employer, as a result of

the Employer’s withdrawal from a multiemployer pension plan, and allege as follows:

                               JURISDICTION AND VENUE
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       1.       This action arises under the Employee Retirement Income Security Act of 1974

(“ERISA”), as amended by the Multiemployer Pension Plan Amendments Act of 1980

(“MPPAA”), 29 U.S.C. §§ 1001-1461, to collect withdrawal liability, delinquent contributions,

interest, and penalties and, as such, this Court has jurisdiction over this action under sections

502(e), 502(f), and 4301(c) of ERISA, 29 U.S.C. §§ 1132(e), 1132(f), 1145 and 1451(c) and 28

U.S.C. §1331.

       2.       Venue lies in this court under sections 502(e)(2) and 4301(d) of ERISA, 29

U.S.C. §§ 1132(e)(2) and 1451(d), in that the Pension Fund is administered by its Boards of

Trustees at their principal place of business located at 300 South Ashland Avenue, Suite 500,

Chicago, Illinois 60607, and that a substantial part of the events or omissions giving rise to

Plaintiffs’ claims occurred in the Northern District of Illinois, Eastern Division.

                                             PARTIES

       3.       Plaintiff Pension Fund is a multiemployer pension benefit plan within the

meaning of Section 3(37) and 4001(a)(3) of ERISA. 29 U.S.C. § 1002(37) and 1301(a)(3). The

Pension Fund is established and maintained pursuant to its Agreement and Declaration of Trust

of the Lumber Employees Local 786 Retirement Fund (the “Agreement and Declaration of

Trust”) in accordance with Section 302(c)(5) of the LMRA. 29 U.S.C. § 186(c)(5). The Pension

Fund has offices and conducts business within this District.

       4.       The members of the Board of Trustees of the Pension Fund are Michael Philipp,

Ron Sandack, Michael Yauger, Edward Rizzo, Steven Fisher, and Ricky Blevins.

       5.       Plaintiff Trustees of the Pension Fund are the Plan Sponsor of the Pension Fund

and have been duly authorized by its respective Agreement and Declaration of Trust to act on

behalf of the Pension Fund in collection of withdrawal liability and delinquent contributions

owed to the Pension Fund. With respect to such matters, the Trustees act as fiduciaries of the

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Pension Fund within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).

Pursuant to sections 502(a)(3) and 4301(a)(1) of ERISA, 29 U.S.C. §§ 1132(a)(3) and

1451(a)(1), the Trustees, as fiduciaries, are authorized to bring this action on behalf of the

Pension Fund, its Plan, its participants, and its beneficiaries for the purpose of collecting

withdrawal liability and/or delinquent contributions (related to withdrawal liability payments that

were not made in accordance with the withdrawal liability payment schedule).

         6.     Defendant CHL was an Illinois corporation with its principal place of business

located in the State of Illinois and in this District.

         7.     The corporate status of CHL was involuntarily dissolved by the Illinois Secretary

of State on February 9, 2018 and reinstated on July 1, 2019.

         8.     The Agent of Record of CHL as of July 17, 2017, was Bruce Scott Horn whose

listed address was P.O. Box 53, Riverside, Illinois 60546.

         9.     The Agent of Record for CHL as of July 1, 2019, is Bruce Scott Horn whose

listed address is 2440 S. Damen Ave, Chicago, Illinois 60608.

         10.    Until it closed on or about June 1, 2017, CHL operated at 4700 19th St, Cicero, IL

60804.

         11.    When CHL closed, on or about June 1, 2017, it ceased making contributions to

the Pension Fund and triggered withdrawal liability on or about that date.

         12.    CHL and/or other members of its controlled group continue to do business in the

State of Illinois.

         13.    Upon information and belief, the Defendant CHL is owned one hundred percent

(100%) by Bruce Scott Horn.




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       14.       Defendant Bruce Scott Horn is an individual and not only the sole owner of CHL,

but also the sole proprietor of the property located at 4700 19th St, Cicero, IL 60804 (the

“Property”), which is a separate trade or business upon which CHL operated its business on and

before the date of its withdrawal from the Fund thus constituting a single employer within the

meaning of Section 4001(b)(1) of ERISA, 29 U.S.C. §1301(b)(1), and the regulations

promulgated thereunder.

       15.       In accordance with Section 4001(b)(1) of ERISA, 29 U.S.C. §1301(b)(1): (i) all

“trades and businesses” (whether or not incorporated) that are “under common control” are

treated as a single employer, and (ii) all employees of trades or businesses under common

control are treated as employed by a single employer. Thus, each trade or business under

common control with the withdrawing employer is jointly and severally liable for any

withdrawal liability of any other trade or business under common control (see PBGC §

4001.3(a)(2)).

       16.       The Property is a separate trade or business upon which CHL operated its

business on and before the date of its withdrawal from the Pension Fund thus constituting a

single employer within the meaning of Section 4001(b)(1) of ERISA, 29 U.S.C. §1301(b)(1), and

the regulations promulgated thereunder.

       17.       The Property as of the date of withdrawal was not held as a corporation, limited

liability company and/or limited partnership. Therefore, the Property was not protected from any

form of limited liability that would prevent the Pension Fund from suing the owners individually

for amounts owed by the Property (as a single employer with CHL) for the withdrawal liability.

                                               FACTS

       18.       Plaintiffs re-allege and incorporate the allegations contained in Paragraphs 1-17 of

this Complaint with the same force and effect as if fully set forth herein.

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       19.     CHL was an employer engaged in an industry affecting commerce and was

subject to a collective bargaining agreement with the Building Material, Lumber, Box, Shaving,

Roofing and Insulating, Chauffeurs, Teamsters, Warehousemen and Helpers Union No. 786 in

the City of Chicago and Vicinity, State of Illinois, affiliated with the International Brotherhood

of Teamsters, under which CHL was required to make contributions to the Fund on behalf of

certain of its employees.

       20.     The Employer remitted contributions to the Pension Fund in accordance with the

terms of its collective bargaining agreement with the union until the Plan Year ending August 31,

2017, during which year it ceased remitting contributions to the Pension Fund.

       21.     On or about May 1, 2017, the collective bargaining agreement between the

Employer and the union expired and the Employer no longer employed employees covered by a

collective bargaining agreement requiring contributions to the Fund.

                                      COUNT I
                              DELINQUENT CONTRIBUTIONS

       22.     Plaintiffs re-allege and incorporate the allegations contained in Paragraphs 1-21 of

this Complaint with the same force and effect as if fully set forth herein.

       23.     On December 19, 2016, CHL and the Fund entered into a Payment Agreement

(see Exhibit A) to allow CHL to pay delinquent contributions owed to the Fund in the total

amount of $18,020.08.

       24.     In accordance with the Payment Agreement, CHL was to remit to the Fund

monthly payments, the first eighteen (18) in the amount of $1,001.12 and a final payment of

$1,000.64.

       25.     Payments were to begin on January 1, 2017.




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       26.     The Pension Fund sent CHL a letter (the “Delinquency Letter #1”) dated March

20, 2017, that CHL had missed its monthly payment due on March 1, 2017. A copy of

Delinquency Letter #1 is attached as Exhibit B.

       27.     Subsequently, the Fund administrator was able to reach CHL regarding this

delinquency and the amounts missed for the March 2017 payment were remitted by CHL.

       28.     The Pension Fund sent CHL a letter (the “Delinquency Letter #2”) dated

November 1, 2017, that CHL had missed its monthly payments due on and after June 1, 2017. A

copy of Delinquency Letter #2 is attached as Exhibit C.

       29.     The Pension Fund sent CHL a follow-up letter (the “Delinquency Letter #3”)

dated February 21, 2018, that CHL had failed to remit monthly payments due on and after June

1, 2017. A copy of Delinquency Letter #3 is attached as Exhibit D.

       30.     CHL has failed to make any payments after May 19, 2017 (the date of its last

payment) in honor of its commitment under the Payment Agreement.

       31.     The total principal owed on the Payment Agreement is $13,014.08.

       32.     In addition to this amount, CHL owes the Fund for interest, penalties and

liquidated damages related to its default under the Payment Agreement.

       33.     Pursuant to Sections 502(g) and 4301(e) of ERISA, 29 U.S.C. §§ 1132(g) and

1451(e), CHL is liable for the Fund’s costs and expenses incurred in connection with this action,

including any reasonable attorneys’ fees.

                                       COUNT II
                                 WITHDRAWAL LIABILITY

       34.     Plaintiffs re-allege and incorporate the allegations contained in Paragraphs 1-36 of

this Complaint with the same force and effect as if fully set forth herein.




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         35.   The Employer withdrew from the Fund on or about June 1, 2017 (i.e., during the

Plan Year ending August 31, 2017), when it permanently ceased to have an obligation to remit

contributions to the Fund.

         36.   Under section 4201(b) of ERISA, 29 U.S.C. § 1381(b), the Fund calculated the

liability for the Employer’s withdrawal to be $279,231 using the September 29, 2015 valuation

date.

         37.   The Fund sent CHL a letter (the “Demand Letter”) dated July 17, 2017, that the

amount of withdrawal liability incurred by CHL for a withdrawal during the Plan Year ending

August 31, 2019 was $279,231. In the Demand Letter, the Fund further notified CHL that it

could pay its estimated liability in 80 quarterly installments of $4,634. The Demand Letter

advised CHL that the first installment was due by September 15, 2017 and every three months

thereafter. Alternatively, CHL had the option of paying its withdrawal liability in a lump sum. A

copy of the Demand Letter is attached as Exhibit E.

         38.   To date the statement of business affairs has not been completed or returned to the

Fund by CHL or any of its agents or assigns.

         39.   CHL failed to make its first payment that was due on September 15, 2017.

         40.   The Fund, by letter dated September 18, 2017, sent a notice of default to CHL

informing CHL that it had missed its first payment of $4,634 and that it had 60 days to correct

this missed payment or the Fund would default CHL and all amounts owed would become

immediately due. (Exhibit F).

         41.   CHL subsequently made payment related to the first quarterly withdrawal liability

payment due September 15, 2017.

         42.   CHL failed to make its second payment that was due on December 15, 2017.



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        43.    The Fund, by letter dated December 29, 2017, sent a notice of default to CHL

informing CHL that it had missed its second payment of $4,634 and that it had 60 days to correct

this missed payment or the Fund would default CHL and all amounts owed would become

immediately due. (Exhibit G).

        44.    CHL subsequently made payment related to the second quarterly withdrawal

liability payment due December 15, 2017.

        45.    CHL failed to make its regularly scheduled quarterly payment on March 15, 2018.

And, in fact, no additional payments have been received by the Fund after this date.

        46.    On May 17, 2018, the Fund sent CHL a certified letter that it had failed to make

payments in accordance with the payment schedule outlined above, and that failure to make a

payment would result in a default and acceleration of the entire amount due should CHL fail to

make payment within 60 days of the date of this letter. (Exhibit H).

        47.    In accordance with ERISA § 4219(b)(2)(A), CHL and its controlled group

members had 90 days from the date of the Fund’s June 22, 2016 letter to initiate arbitration.

Since no action was taken by CHL and/or its controlled group members to initiate arbitration,

Defendants have waived their rights to challenge the amount of withdrawal liability and who is a

liable for such withdrawal liability.

        48.    CHL has not remitted any of the installment payments sought by the Fund after

December of 2017 for CHL’s withdrawal from the Fund nor did it ever take steps to initiate

arbitration.

        49.    Based upon the foregoing communications, Plaintiffs have provided statutory

notice to Defendants of their obligations and deficiencies.




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        50.       Under Section 4219(c)(5) of ERISA, 29 U.S.C. § 1399(c)(5), an employer is

required to pay any outstanding withdrawal liability in a lump sum if it is in default and has

exhausted its ability to challenge withdrawal liability due to its failure to timely initiate

arbitration.

        51.       Under Section 3(5) of ERISA, 29 U.S.C. § 1002(5) and PBGC Opinion Letter

82-37 (1982), an “employer” is a person who is “obligated to contribute” to a plan either as a

direct employer, or an entity that is a “trade[] or business[] under common control” with such

employer.

        52.       Under Section 4001(b) of ERISA, 29 U.S.C. § 1301(b), the owner(s) of an

unincorporated trade or business are treated as employers and shall be jointly and severally liable

for any withdrawal liability if such business is a trade or business under common control with an

entity that has incurred withdrawal liability.

        53.       As the owner of CHL and of the Property upon which CHL had operated, Bruce

Scott Horn is part of the controlled group and/or a joint employer with CHL and is therefore

jointly and severally liable to the Fund for withdrawal liability.

        54.       Pursuant to Sections 502(g) and 4301(e) of ERISA, 29 U.S.C. §§ 1132(g) and

1451(e), CHL; Bruce Scott Horn; and any other members of the Controlled Group are liable

jointly and severally for the Fund’s costs and expenses incurred in connection with this action,

including any reasonable attorneys’ fees.

               WHEREFORE, the Fund and its Board of Trustees respectfully request the

               following judgment in favor of the Plaintiffs and against the Defendants:

                  a.      That Defendants; Bruce Scott Horn; and any other members of the

                          Controlled Group be held liable jointly and severally for the outstanding



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              principal of unpaid contributions to the Fund under the Payment

              Agreement in the amount of $13,014.08, pursuant to Sections 502(g) and

              4301(e) of ERISA, 29 U.S.C. §§ 1132(g) and 1451(e);

        b.    That Bruce Scott Horn; and any other members of the Controlled Group

              be held liable jointly and severally in the amount of $3,975.00 for

              liquidated damages and interest for the late Fund contributions, pursuant

              to pursuant to Sections 502(g)(2) and 4301(e) of ERISA, 29 U.S.C. §§

              1132(g)(2) and 1451(e);

        c.    That Bruce Scott Horn; and any other members of the Controlled Group

              be held liable jointly and severally for reasonable attorneys’ fees and costs

              incurred by the Plaintiffs pursuant to their respective Agreement and

              Declaration of Trust and 29 U.S.C. § 1132(g)(2)(D);

        d.    That CHL; Bruce Scott Horn; and any other members of the Controlled

              Group be held liable jointly and severally for the outstanding withdrawal

              liability of $279,231, which amount includes delinquent contributions

              owed to the Pension Fund for this withdrawal liability pursuant to Section

              4219(c)(1) of ERISA, 29 U.S.C. §1399(c)(1);

        e.    That CHL; Bruce Scott Horn; and any other members of the Controlled

              Group be held liable jointly and severally for the full amount of

              prejudgment interest attributable to the withdrawal liability calculated

              pursuant to Section 502(g) of ERISA, 29 U.S.C. §1132(g);

        f.    In the alternative, that CHL; Bruce Scott Horn; and any other members of

              the Controlled Group be held jointly and severally liable for the delinquent



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              contributions, plus interest, liquidated damages and attorney fees for

              missed payments of the withdrawal liability required under ERISA

              pursuant to Sections 502(g) and 4301(e) of ERISA, 29 U.S.C. §§ 1132(g)

              and 1451(e);

        g.    That CHL; Bruce Scott Horn; and any other members of the Controlled

              Group be held liable jointly and severally for liquidated damages

              calculated pursuant to Section 502(g) of ERISA, 29 U.S.C. §1132(g);

        h.    That CHL; Bruce Scott Horn; and any other members of the Controlled

              Group be held liable jointly and severally for the Fund’s costs and

              expenses incurred in connection with this action, including its reasonable

              attorneys’ fees, pursuant to Sections 502(g) and 4301(e) of ERISA, 29

              U.S.C. §§ 1132(g) and 1451(e); and

        i.    The Plaintiffs shall have such other and further relief as the Court shall

              deem just and proper.

                   [SIGNATURE PAGE ON NEXT PAGE]




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Dated: November 4, 2019                        Respectfully submitted,

                                               PENSION PLAN OF LOCAL UNION 786
                                               LUMBER EMPLOYEES RETIREMENT
                                               FUND, MICHAEL PHILIPP, RON
                                               SANDACK, MICHAEL YAUGER,
                                               EDWARD RIZZO, STEVEN FISHER, AND
                                               RICKY BLEVINS

                                               /s/: Jeffrey S. Fowler_____
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